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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                   _________________

UNITED STATES OF AMERICA,

              Plaintiff,                          Case no. 1:17-cr-130

v.                                                Hon. Janet T. Neff
                                                  United States District Judge
DANIEL GISSANTANER,
                                                  Hon. Ray Kent
              Defendant.                          United States Magistrate Judge
                                        /




                           BRIEF IN SUPPORT OF DEFENDANT’S
                           MOTION TO EXCLUDE DNA EVIDENCE




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        NOW COMES the defendant, Daniel Gissantaner, by and through his attorney, Joanna C.

Kloet, Assistant Federal Public Defender, and pursuant to Federal Rules of Evidence 702, 703,

and 403, and all other applicable rules and authority, hereby moves the Court to exclude any

evidence related to deoxyribonucleic acid (“DNA”) in this case, for the reasons set forth in his

Motion and this Brief.

   I.      SUMMARY OF ARGUMENT

        This case implicates important questions about the standards for the collection, analysis,

and interpretation of DNA material. The reports from the Michigan State Police (“MSP”) forensic

laboratory indicate that they determined that the firearm in this case contained a mixture of DNA

from three individuals, one of whom the Government alleges is the defendant. The other individual

contributors of DNA are unknown. The defendant, Daniel Gissantaner, resided at the home where

the firearm was located, with at least three other adults (two females and one male, Cory Patton),

and three children. The firearm was located by Battle Creek Police Department (“BCPD”) officers

in a locked chest in Cory Patton’s bedroom.

        The defendant seeks to suppress the DNA evidence for two reasons. First, the MSP reports

contain a likelihood ratio (“LR”) to convey the results of the DNA analysis. The LR, generated

by a probabilistic genotyping software program called STRMix, is a statistical estimate regarding

the possibility that some of the DNA material found on the firearm belonged/s to Mr. Gissantaner,

and not another individual. The LR created by STRMix in this case is unreliable because the

program’s code relies upon information that is subjective and can vary to an impermissible degree

depending on the individual analyst and laboratory. Furthermore, the evidence does not meet

accepted standards for use of this program. Lastly, submission of these results to a jury would be

unfairly prejudicial. This scientific evidence is inadmissible under Federal Rules of Evidence 702,



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703, and 403, and the principles outlined by the United States Supreme Court in Daubert v.

Merrell-Dow Pharms. Inc., 509 U.S. 579 (1993), and its progeny.

         Secondly, the results of the DNA analysis, including both the statistical estimates generated

by STRMix and the results of the underlying DNA testing, should be excluded because the

materials disclosed to the defense in discovery – including, but not limited to the chain of custody,

police reports, and the content of the recordings from officers’ body cameras at the scene – taken

together, call into question the integrity of the DNA testing results. The reports do not demonstrate

that the collecting agency, the Battle Creek Police Department (“BCPD”), handled the evidence in

accordance with necessarily stringent DNA collection policies. In fact, the discovery materials

reveal a five-day gap in the chain of custody and an apparent admission by an officer of his

mishandling of the DNA material during a search of Mr. Gissantaner’s home. Because DNA

material can be easily transferred to objects even without direct contact, without a continuous and

detailed chain of custody, the possibility of the transfer of Mr. Gissantaner’s DNA to the firearm

cannot be eliminated. Correspondingly, the DNA test results, and the probabilities generated by

the STRMix program that rely upon those results, are unreliable, prejudicial, and should be

excluded. See United States v. McFadden, 458 F.2d 440, 441 (6th Cir. 1972), United States v.

Williams, 640 Fed. Appx. 492 (6th Cir. 2016).

   II.      FACTUAL BACKGROUND

         A. Summary of Incident

         This case arises out of a September 25, 2015, dispute between next-door neighbors with

regard to a shared driveway between XX Highland Avenue and XX Highland Avenue, in Battle

Creek, Michigan. The evidence provided by the government in discovery indicates that after the

Battle Creek Police Department responded to a call related to the argument, a firearm was found



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inside a locked cedar chest in an upstairs bedroom at the residence where the defendant lived, in

Battle Creek, Michigan.

       The defendant, Daniel Gissantaner, resided at XX Highland Avenue with his wife, Lisa

Deerman, her adult daughter Linsey, and Cory Patton, Linsey’s boyfriend. Cory and Linsey’s

three minor children, two girls and a boy (aged 4, 5, and 6 years), also resided at the home, which

was owned by Lisa Deerman.

       Gary Rose, who had just moved in with Lisa Harvey next door, had parked a vehicle with

a trailer in the driveway shared by the residents of the two houses. (Attachment 1, Photograph of

shared driveway taken by defense counsel; Attachment 2, Battle Creek Police Department, Police

Report 15-008424 (“BCPD Report”), pp 4, 9; Body Camera Recording of Officer Craig Kidney,

MVR 200856 (“Kidney MVR 200856”) at 04:40.) At about 9:00 p.m. on September 25, 2015,

Mr. Gissantaner observed that Gary Rose had parked an automobile in the shared driveway of the

homes. (Attachment 2, BCPD Report, p 4.) Gary Rose, who was sitting at the kitchen table with

Lisa Harvey, saw Mr. Gissantaner through the window, and came outside to confront him. (Body

Camera Recording of Officer Tom Wirebaugh, MVR 200295 (“Wirebaugh MVR 200295”) at

01:40.) An argument ensued between the two over the fact that Gary Rose’s truck was parked in

the shared driveway. (Attachment 2, BCPD Report, p 4.) Lisa Harvey heard the exchange and

called 911, stating that she was getting into a fight with the neighbor man and claiming that her

neighbor had a gun. (Recording of First 911 Call (“911 Call 1”), at 00:12, 00:38; Attachment 2,

BCPD Report, p 4.) During the call, Lisa Harvey can be heard continuing to yell at Mr.

Gissantaner, telling him, “You’re goin’,” and that the police were on the way, and declaring that

she had “had it” and that he “didn’t run this street.” (911 Call 1 at 0:39, 2:47.)




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        The 911 operator asked Lisa repeatedly where the gun was, but Lisa Harvey ignored the

question. (911 Call 1 at 02:27, 02:52.) When the 911 operator asked Lisa Harvey directly if she

had seen the gun, Lisa Harvey ignored the question. (911 Call 1 at 02:27.) When she was asked

again, she replied, “He was putting his hands behind his back.” (911 Call 1 at 03:00.) Lisa Harvey

then told the 911 operator she was hanging up and commanded, “You get the police here.” (911

Call 1 at 03:14.) After Lisa Harvey hung up, the 911 operator can be heard telling a colleague that

Lisa Harvey refused to the answer her question, stating, “She said she did, then she didn’t.” (911

Call 1 at 03:40.) A few minutes later, officers from the Battle Creek Police Department were

dispatched to the home. (Attachment 2, BCPD Report, p 4.)

        When officers arrived, Mr. Gissantaner greeted them and was interviewed by BCPD

Officer Tom Wirebaugh. (Kidney MVR 200856 at 00:45; Attachment 2, BCPD Report, p 4.)

Because of the possibility of the presence of a handgun, Mr. Gissantaner was placed into handcuffs

while the investigation continued. (Attachment 2, BCPD Report, p 4; Kidney MVR 200856 at

08:30.) Mr. Gissantaner denied having possessed a gun, and no weapon of any kind was found on

his person. (Attachment 2, BCPD Report, p 9.) During the interview, Mr. Gissantaner stated that

at one point during the argument, he had reached in his pocket for his phone. (Wirebaugh MVR

200295 at 03:40.) Officer Kidney asked Mr. Gissantaner if he was on parole, and Mr. Gissantaner

replied, “yes,” and told Officer Kidney he could search the house if he wanted. (Wirebaugh MVR

200295 at 06:38; BCPD Report, p 5.) 1

        At the scene, Lisa Harvey, Gary Rose, and Cory Patton were interviewed by Officer

Wirebaugh. (Attachment 2, BCPD Report, p 4; Wirebaugh MVR 200295 at 01:30.) Upon being



1
 Upon information and belief, officers did not realize Cory Patton was inside the home until approximately 9:15 p.m.,
when Mr. Gissantaner advised them of the same after being informed he was being taken into custody. (Kidney MVR
200856 at 15:00.)

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asked directly, Gary Rose stated that he “did not actually see a gun.” (Wirebaugh MVR 200295

at 3:05.) He told police that he (Gary Rose) “grabbed a pipe” during the argument. (Wirebaugh

MVR 200295 at 03:00.) Similarly, according to the police report, Lisa Harvey “never saw a gun”

either. (Attachment 2, BCPD Report, p 4.) Towards the end of the interview, Officer Wirebaugh

informed Gary Rose and Lisa Harvey that “it’s gonna be tough for any kind of charges” because

they saw no gun. (Wirebaugh MVR 200295 at 03:49.)

       BCPD Officers Kilbourn, Tom Burke, Craig Kidney, and Sergeant Palmer searched the

home. (Attachment 2, BCPD Report, p 5.) In an upstairs bedroom where Cory Patton and Linsey

stayed, officers located a box of Remington .40 caliber cartridges and a magazine containing .45

caliber cartridges on a TV stand. (Body Camera Recording of Officer Burke, MVR 200859

(“Burke MVR 200859”) at 29:00; Attachment 2, BCPD Report, p 8.) Officers also located

marijuana seeds, a grinder, a scale, and a bong in Cory Patton’s bedroom. (Body Camera

Recording of Officer Long, MVR 200863 (“Long MVR 200863”) at 00:29; Burke MVR 200859

at 33:15.)

       Sergeant Palmer asked Cory Patton if he was “gonna find a gun in here.” (Burke MVR

200859 at 33:50; Attachment 2, BCPD Report, p 9.) Officers also asked Cory Patton where the

key was for the locked chest in his room, as “he was the only one with access to the chest.”

(Attachment 2, BCPD Report, pp 8-9.) With his key, Cory Patton opened the locked cedar chest

in his bedroom, which contained a semi-automatic .45 caliber pistol. (Attachment 2, BCPD

Report, p 8.)

       Cory Patton told the officers that that was not his gun and stated that he took the firearm

from Mr. Gissantaner. (Burke MVR 200856 at 37:00; Attachment 2, BCPD Report, pp 8, 9, 11.)

Cory claimed that he had taken the gun from Mr. Gissantaner, put it on the kitchen counter, and



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then put it in the cedar chest. (Burke MVR 200859 at 37:35; Kidney MVR 200856 at 55:45.) An

officer probed, “Did you secure the gun so your kids didn’t get the gun?” and Cory Patton agreed,

stating “Yeah.” (Burke MVR 200856 at 37:05.) An officer then stated to Cory Patton, “you got

into a situation where you’re trying to stop violence from happening,” and “you brought something

up here secured it so your kids didn’t get it, I understand that, anybody else would understand

that.” (Burke MVR 200859 at 39:15.)

       Upon further questioning, Cory Patton informed the officers that he (Patton) was a

convicted felon. (Kidney MVR 200856 at 01:00:09.) He admitted that Mr. Gissantaner did not

have a key to the chest. (Burke MVR 200859 at 36:30.) Cory Patton also stated that the .40 caliber

ammunition belonged to a different gun he (Cory Patton) had “a long time ago.” (Burke MVR

200859 at 37:45).

       On the recording from the body camera worn by Officer Kidney, an unidentified officer

can be heard remarking to another person, apparently another officer, about the type and value of

the gun. (Kidney MVR 200856 at 58:23.) The unidentified officer then continues, “It’s a problem

‘cause I touched it and I moved it and I know Olsen always tells me, ‘If you find something, just

leave it there.’” (Kidney MVR 200856 at 58:23.) That Officer Kidney touched the weapon was

confirmed by another officer on the recording of the body camera worn by Officer Long. (Long

MVR 200863 at 49:30.) Similarly, on Officer Long’s recording, another officer can be heard

stating that he touched the gun with his flashlight. (Long MVR 200863 at 49:30.)

       After Officer Wirebaugh contacted MDOC parole, he informed Mr. Gissantaner he would

be taken into custody for “kind of like threatening them about their trailer” and “prowling around

their house lookin’ in their windows.” (Wirebaugh MVR 200295 at 18:05.) The defendant was

taken to Calhoun County Jail. (Attachment 2, BCPD Report, p 5.)



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        According to his report, BCPD evidence technician Officer Todd Rathjen went to the home

and “photographed and collected” the gun. (Attachment 2, BCPD Report, p 10.) Officer Rathjen’s

report indicates that upon arrival at the station later that evening, he removed the cartridges from

the magazine of the gun.2 (Attachment 2, BCPD Report, p 10.) Officer Rathjen’s report then

states he “then” traveled to the Calhoun County Jail, where at approximately 7:00 p.m., he

collected a buccal swab sample from Mr. Gissantaner’s cheek.3 (Attachment 2, BCPD Report, p

10).

        The chain of custody produced by BCPD, however, states that the gun was collected by

Officer Rathjen at 10:10 p.m. on September 25, 2015, and that the buccal swab sample was

collected at 11:00 p.m. (Attachment 3, Battle Creek Police Department, Chain of Custody (“BCPD

COC”).) In any case, neither Officer Rathjen’s report nor the chain of custody indicate how

authorities handled the firearm or the DNA samples at the respective sites of collection or during

transportation to the station, or how they were stored. Officer Rathjen did not process and submit

into property the firearm, the magazine, or the buccal (cheek) swab at the BCPD laboratory until

five days later, on September 30, 2015. (Attachment 3, BCPD COC.; Attachment 2, BCPD Report,

p 10.) No information exists with respect to the location of the ammunition, the firearm, or the

swab taken from Mr. Gissantaner’s cheek for the period from September 25, 2015, to September

30, 2015.

        The chain of custody document prepared by MSP indicates that on October 2, 2015, the

MSP laboratory received from the BCPD, via hand-delivery, two items: a container containing the




2
  The photographs submitted in this matter, ostensibly taken by Officer Rathjen at the scene on September 25, 2015,
show an open cedar chest containing the firearm in question and a magazine outside of the firearm on top of a pile of
clothing in Cory Patton’s room.
3
  Officer Rathjen’s report stated he collected the buccal swab from Mr. Gissantaner at 7:00 p.m. However, according
to the 911 CAD report, the initial 911 call was not placed until 8:57 p.m. (CAD Report.)

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gun swabs and a container containing the defendant’s cheek swabs. (Attachment 4, Michigan State

Police, Chain of Custody (“MSP COC”).) The reports prepared by MSP provided to the defense

show that the items were forwarded to the MSP Lansing Laboratory on or after January 29, 2016

and that the analysis of these items began on May 16, 2016. (Attachment 5, Michigan State Police,

Worksheet, May 16, 2016 (“MSP Worksheet”); Attachment 6, Michigan State Police, Notes

(“MSP Notes”); Attachment 7, Michigan State Police, Report 1 (“MSP Report 1”).) On May 27,

2016, MSP issued a report stating that the DNA results on the firearm showed a mixture of multiple

contributors and therefore needed further analysis. (Attachment 8, Michigan State Police, Report

2 (“MSP Report 2”).)

        On June 2, 2016, MSP began an analysis of the DNA test results using STRMix software,

a probabilistic genotyping software application.4 (Attachment 9, Michigan State Police, STRMix

Reports.) MSP issued a follow-up report on June 10, 2016, which stated:

                 Based on the DNA typing results obtained, it is at least 49 Million
                 times more likely if the observed DNA profile from the swabs of
                 textured areas of GUN-001 originated from Daniel Gissantaner and
                 two unrelated, unknown contributors than if the data originated from
                 three, unrelated, unknown individuals.

                 Attachment 10, Michigan State Police, Report 3 (“MSP Report 3”).

        According to the STRMix reports, the major contributor contributed 68% of the DNA in

the sample, the first minor contributor contributed 25%, and the next minor contributor contributed

7% of the sample. (Attachment 9, MSP STRMix Report.) Approximately 7.96 ng of total DNA

was extracted from the sample, and 1.3 ng of that amount was male DNA. The defense’s DNA




4
  On February 22, 2016, MSP confirmed that internal validation studies on STRMix had been performed by MSP,
indicating that MSP had just started using the software program a few months earlier. (Attachment 14, Michigan
State Police, STRMix Validation Summary, 02/22/2016 (“MSP STRMix Validation Summary”), p 1.) The Federal
Bureau of Investigation (“FBI”) laboratory began using the STRMix program in December 2015. (PCAST, p 79.)

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expert has concluded that the information contained in the materials provided by MSP indicate

that Mr. Gissantaner, a male, is a minor contributor, and may correspond to the 7% contributor.

       The MSP chain of custody indicates that the swabs from the gun and the buccal swabs from

Mr. Gissantaner were returned to BCPD on March 8, 2016. (Attachment 4, MSP COC.) The

BCPD chain of custody document indicates these materials were received and placed into long-

term storage on March 9, 2016. (Attachment 3, BCPD COC.) The MSP chain of custody also

indicates that the DNA extract from the gun swab and the DNA extract from Mr. Gissantaner were

returned to BCPD on July 13, 2016. (Attachment 4, MSP COC.) On October 2, 2017, undersigned

counsel and her investigator visited the BCPD station to view the evidence. The evidence

presented to defense counsel included an envelope labeled as containing “2 buccal swabs” taken

“from textured areas” of the gun, which contained two long swab sticks with cotton tips; an

envelope labeled as containing “DNA FROM MSP” with a small capsule ostensibly containing

the swabs with DNA extract from the textured areas of the gun; and an envelope labeled as

containing DNA FROM MSP” with a small capsule ostensibly containing the swabs with the DNA

extract from the buccal swabs of Mr. Gissantaner. (Attachment 11, Photographs of evidence taken

by the defense, 10/02/17.) However, long swab sticks from Mr. Gissantaner’s cheek sample were

not present. Thus, the precise location of Mr. Gissantaner’s cheek swabs are unclear or unknown.

       B.     Summary of DNA Analysis

       Modern DNA testing focuses on specific places, called “loci,” of the human genome

containing “Short Tandem Repeats, or STRs, which are genetic markers that contain short repeated

sequences of DNA base pairs.” (Attachment 12, Michigan State Police Biology Procedures and

Training Manuals (“MSP PMBIO”), 2.11.1.) The number of times that a particular sequence




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repeats itself at a locus varies from person to person, such that STR “represent a good source to

differentiate individuals.” (Attachment 12, MSP PMBIO 2.11.1.)

        STR are detected through a process using polymerase chain reaction (“PCR”) and an

analytical technique called capillary electrophoresis. (Attachment 12, MSP PMBIO 2.11.1.)

During PCR, the DNA sample is copied, or “amplified,” utilizing commercially-produced

fluorescent primers. (Attachment 12, MSP PMBIO 2.11.1.) The genetic material then is passed

through a capillary electrophoresis instrument, which “separates the DNA fragments by size” for

identification. (Attachment 12, MSP PMBIO 2.11.1.) The number of times that a particular

sequence repeats at a particular site corresponds to an “allele.” (Attachment 12, MSP PMBIO

2.11.1.) Following electrophoresis, a graph called an electropherogram (“EPG”) is generated,

wherein the peaks are proportionate to the amount of DNA present. (Attachment 12, MSP PMBIO

2.11.1.; Attachment 13, Michigan State Police, Electropherograms (“MSP EPGs”), dated May 22,

2016 and June 2, 2016.

        Here, the materials provided by MSP to the defense indicate that the DNA contained in the

swab of the firearm consisted of three contributors.5 (Attachment 8, MSP Report 2.) The majority

of the DNA was female. (See Attachment 5, MSP Worksheet.) The analysis focused on 23 loci,

17 of which contained alleles that matched those of Mr. Gissantaner’s sample. (Attachment 13,

MSP EPG, May 22, 2016 (DNA extract from swabs of gun).) No information was provided to the

defense with respect to the identity of the other contributors of the DNA on the weapon.




5
 MSP’s policy manual requires consideration of multiple donors when several situations are observed, including, but
not limited to the observation of more than two interpretable alleles in at least two autosomal loci. PMBIO 2.10.7.2.

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         C.       Use of statistical software programs to attribute meaning to the results of DNA
                  testing

         With the evolution of PCR, a “broader range of evidentiary samples have become eligible

for testing.” (Attachment 14, MSP STRMix Validation Summary, p 3.)6 However, the heightened

sensitivity of DNA testing means that MSP has “seen a significant increase in the number of DNA

samples with multiple contributors, artifacts, stochastic events, allelic drop in/out and other factors

that must be considered during DNA profile interpretation.” (Attachment 14, MSP STRMix

Validation Summary, p 3.)

         On February 22, 2016, MSP published the results of its internal validation testing on

STRMix.7 (Attachment 14, MSP STRMix Validation Summary, p 3.) STRMix is a software

program that generates a statistical estimate called a likelihood ratio (“LR”) to communicate the

laboratory’s “assessment of how strongly forensic evidence can be tied to a suspect.” (Attachment

15, Article, National Institute of Standards and Technology, “NIST Experts Urge Caution in Use

of Courtroom Evidence Presentation Method,” October 12, 2017; see also Attachment 14, MSP

STRMix Validation Summary, p 4.) The LR “considers the probability of obtaining the evidence

profile(s) given two competing propositions, usually aligned with the prosecution case and defence

case.”     (Attachment 16, “Developmental validation of STRMix, expert software for the

interpretation of forensic DNA profiles,” Forensic Science International: Genetics 23 (2016) 226-

239 (“FSI 23”), p 226.) To generate an LR in a case, the individual laboratory chooses two

hypotheses. The first hypothesis is characterized as a prosecution fact – in this case, that the




6
  The PCR process makes it “possible to detect DNA at levels hundreds or even thousands of times lower than when
DNA fingerprinting was developed in the 1980s.” (Article, Science Magazine, “Forensics gone wrong: When DNA
snares the innocent,” by Douglas Starr, March 7, 2016, p 3.)
7
  To establish the parameters for STRMix, the MSP laboratory collected data from its three individual laboratory
locations and selected all the settings from the one it determined to be most representative of the three. (MSP STRMix
Validation Summary, pp 5, 19.)

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defendant’s DNA and the DNA of two unknown individuals are present on the weapon.

(Attachment 14, MSP STRMix Validation Summary, p 4; Attachment 10, MSP Report 3.) The

second hypothesis is a defense hypothesis – that the material contains the DNA of three unrelated

persons, not the defendant. (Attachment 14, MSP STRMix Validation Summary, p 4; Attachment

10, MSP Report 3.) In essence, an LR represents the likelihood of whether a particular person’s

DNA is present in a mixture, as compared to a random person’s DNA, based on standard reference

databases. However, due to the statistical methodology used in STRMix, “[t]he results of no two

analyses will be completely the same.” (Attachment 16, FSI 23, p 232.)

       STRMix uses the information from the electropherogram “to calculate the probability of

the profile given all possible genotype combinations.” (Attachment 16, FSI 23, p 227.) The

program “assigns a relative weight to the probability of the [electropherogram] given each possible

genotype combination at a locus, and the weights across all combinations at that locus are

normalized so that they sum to one. (Attachment 16, FSI 23, p 227.) However, several factors

entered into the STRMix program are under the control of the operator or the individual laboratory,

and thus are variable. (Attachment 16, FSI 23, p 231.)

       For instance, although “[t]he true number of contributors to a profile is always unknown,”

(Attachment 16, FSI 23, p 233), the individual analyst determines the number of contributors to a

DNA profile. (Attachment 12, MSP PMBIO 2.11.8; see also Attachment 14, MSP STRMix

Validation Summary, p 4.) MSP’s policies characterize the determination of the number of

contributors as an estimate, based on “the overall quality of the electropherogram, the locus with

the greatest number of interpretable alleles, the peak height of alleles within a locus and the

presence of possible alleles below the Analytical Threshold[.]” (Attachment 12, MSP PMBIO

2.10.9.2.) The manual cautions that “[s]tudies indicate it is difficult to determine with certainty



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the actual number of donors to any given mixture, especially as the number of donors increases.”

(Attachment 12, MSP PMBIO 2.10.9.2.)

         In addition to the number of contributors, the STRMix program relies upon other terms set

by the individual laboratory, such as analytical thresholds,8 stutter ratios,9 drop-in rates,10 and

saturation levels. (Attachment 12, MSP PMBIO 2.11.8; Attachment 16, FSI 23, p 231; Attachment

14, MSP STRMix Validation Summary, p 18.) Furthermore, the amount of DNA tested “can have

a dramatic impact on the quantity and quality of the STR results obtained,” and “the significance

of the likelihood ratios are negatively impacted as the input DNA amount decreases and the extent

of allelic and locus drop-out increases.” (Attachment 14, MSP STRMix Validation Summary, p

39.) In other words, not all profiles are suitable for STRMix application – MSP’s policies provide

that “[p]rofiles exhibiting significant levels of allelic and/or locus drop-out of one or more of the

contributors may not be suitable for analysis using STRMix.” (Attachment 12, MSP PMBIO

2.10.9; see also Attachment 12, PMBIO 2.11.7.) Because STRMix requires use of a numeric value

for the allele, if an allele cannot be accurately assigned, then MSP’s policies instructs that “the

entire locus shall be removed from the STRMix table and analysis.” (Attachment 12, MSP PMBIO

2.11.8.) However, if an allele is removed, MSP’s manual requires that statement to be included in

the laboratory report. (Attachment 12, MSP PMBIO 2.11.8, p 116.)




8
   The analytical threshold is a limit selected by the laboratory to distinguish “baseline or noise” from a true allelic
peak. (MSP STRMix Validation Summary, p 5.)
9
  Stutter is a phenomenon that is caused by miscopying in the PCR process.
10
   “Drop-in is a non-reproducible, unexplained peak within a profile.” (MSP STRMix Validiation Summary, p 11.)

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   III.      THE “LIKELIHOOD RATIO” SHOULD NOT BE ADMITTED AS A TOOL TO
             CONVEY THE RESULTS OF DNA TESTING IN THIS CASE BECAUSE IT IS
             SUBJECTIVE, UNRELIABLE, AND HIGHLY PREJUDICIAL

          A. The standard for admissibility of scientific evidence

          The Federal Rules of Evidence (“FRE”) require a trial court judge to ensure that an expert’s

testimony is both reliable and relevant before it may be admitted. Daubert v. Merrell Dow Pharms.

Inc., 509 U.S. 579 (1993) (evaluating plaintiffs’ expert’s testimony that ingestion of morning

sickness pills manufactured by the defendant pharmaceutical company caused limb defects in the

plaintiffs). FRE 702 grants the district court the discretionary authority to determine reliability

and relevancy, given the particular facts and circumstances. Kumho Tire Co. v. Carmichael, 526

U.S. 137 (1999). This “gatekeeping” duty of the district court applies to all specialized knowledge,

including, but not limited to technical and scientific knowledge. Id.; see also Daubert, supra, 509

U.S. at 589. The government must prove by a preponderance of the evidence to show scientific

evidence is admissible. Daubert, supra, 509 U.S. at 592-93; see also Bourjaily v. United States,

483 U.S. 171, 174 (1987) (evidentiary admissibility determinations that hinge on preliminary

factual questions must be established by the proponent of the evidence by a preponderance of the

evidence).

          To testify “in the form of an opinion or otherwise,” an expert witness first must be qualified

based on her “knowledge, skill, experience, training, or education.” FRE 702. Once qualified, for

the testimony to be admitted, the rule requires:

                 (a) the expert’s scientific, technical, or other specialized knowledge must
                     help the trier of fact to understand the evidence or determine a fact in
                     issue;
                 (b) the testimony is based on sufficient facts or data;
                 (c) the testimony is the product of reliable principles and methods;




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               (d) the expert must have reliably applied the principles and methods to the
                   case.

               FRE 702.

       Expert opinion must be based on actual knowledge, not subjective belief or unsupported

speculation. Daubert, supra, 509 U.S. at 590. Although an expert may base an opinion on facts if

“experts in the particular field would reasonably rely on those kinds of facts or data in forming an

opinion,” inadmissible facts or data may be disclosed to the jury “only if their probative value in

helping the jury evaluate the opinion substantially outweighs their prejudicial effect.” FRE 703.

Finally, even relevant evidence must be excluded “if its probative value is substantially

outweighed” by the possibility of unfair prejudice, confusion of the issues, misleading of the jury,

undue delay, wasting time, or needlessly presenting cumulative evidence. FRE 403.

       The Supreme Court in Daubert set forth factors for a court to evaluate in determining the

admissibility of scientific or expert testimony:

       (1) whether the expert’s theory or technique can, or has been, tested;
       (2) whether the theory or technique has been subjected to peer review and publication;
       (3) the known or potential rate of error of the technique or theory for a particular scientific
           technique and the existence and maintenance of standards controlling the technique’s
           operation; and
       (4) whether the theory or technique is generally accepted in the relevant scientific
           community.

       Daubert, supra, 509 U.S. at 593-94.

       However, no single factor alone is necessarily dispositive, and other factors may be

relevant. See id. at 593; see also Kumho Tire, supra, 526 U.S. at 149. The Court observed that

subjection to scrutiny is a component of good science, in part because it increases the likelihood

that substantive flaws in methodology will be detected. Daubert, supra, 509 U.S. at 593-94.

“Widespread acceptance can be an important factor in ruling particular evidence admissible, and

‘[a] known technique that has been able to draw only minimal support within community may

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properly be viewed with skepticism.’” Id. at 594. Importantly, “[s]cientific conclusions are

subject to perpetual revision,” and “[t]he scientific project is advanced by broad and wide-ranging

hypotheses, for those that are incorrect will eventually be shown to be so[.]” Id. at 597.

       “[N]othing in either Daubert or the [FRE] requires a district court to admit opinion

evidence that is connected to existing data only by the ipse dixit of the expert. General Electric

Company v. Joiner, 522 U.S. 136, 146 (1997). In Joiner, the respondent sought to admit the

testimony of expert witnesses who testified that they believed his exposure to certain materials in

the workplace were “causally linked to” or “contributed to in a significant way” his cancer. Id. at

143. However, the district court refused to admit the evidence, finding that the reports upon which

Joiner’s experts had relied involved “isolated studies of laboratory animals” – namely, infant mice

– who had had massive doses of the chemicals injected directly into their bodies. Id. at 143.

Further, the Court observed, the cancer in the mice and in Joiner were different. Id. at 144. Finally,

the results of two of the four epidemiologic studies offered by the plaintiff were not “statistically

significant,” and the remaining two studies involved different chemicals than those at issue in the

case. Id. at 145-46. The Supreme Court observed that while “[t]rained experts commonly

extrapolate from existing data,” in Joiner, the analytical gap between the data and the opinion

proffered was simply too great. Id. at 147.

       Finally, a district court has broad discretion to ensure that evidence is presented to the jury

in an effective and efficient manner. See FRE 611(a). A trial results in a “binding legal

judgment—often of great consequence—about a particular set of events in the past.” Daubert,

supra, 509 U.S. at 597. The rules of evidence apply with equal force to questions of admissibility

in criminal cases, where the consequence at stake is a wrongful conviction and attendant




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sentence.11 Although “[v]igorous cross-examination, presentation of contrary evidence, and

careful instruction on the burden of proof are the traditional and appropriate means of attacking

shaky but admissible evidence,” id. at 596, sometimes, clear effective presentation to the jury will

be impossible.

         Nearly 25 years ago, the Sixth Circuit upheld the admission of a different type of DNA

evidence, finding that in that case, the principles and methodology used by the FBI to declare

matches and make statistical probabilities were scientifically valid. United States v. Bonds, 12

F.3d 540, 563-64 (6th Cir. 1993). In Bonds, the FBI compared the results of a blood sample found

in a vehicle used in a crime with a sample taken from the defendant, John Ray Bonds. Id. at 549.

The DNA sample, comprised of a single contributor, was subjected to a type of testing called

restriction fragmentation length polymorphism (“RFLP”) in use in 1989.12 Id. at 550.

         Based upon the results of the RFLP procedure, the FBI’s report stated that Bonds’ blood

was a match to the blood found by investigators. Id. at 551. The FBI then made a statistical

estimate of the rarity of the pattern of the DNA bands in the suspect’s sample, using the existing

FBI database of approximately 225 persons. Id. at 550-51. This methodology involved calculating

the relative frequencies of each allele that appears in the defendant’s profile, and then multiplying

them together under the product rule, which in turn generates an estimate of the probability that a

person picked randomly from the general population would have an identical profile to the one

identified in the sample. Id. at 550. The FBI in Bonds ultimately calculated a probability of 1 in



11
   For a survey of jurisprudential trends in the denial of criminal defendants’ post-Daubert challenges to prosecution
evidence, including DNA evidence, see Risinger, D. Michael, “Navigating Expert Reliability: Are Criminal Standards
of Certainty Being Left on the Dock?” 64 Albany L. Rev. 99, 125-28 (2000).
12
   RFLP was a process which isolated and analyzed certain regions of the human genome known as variable number
tandem repeats (“VNTR”). Id. at 550. The DNA was separated by size by a procedure known as gel electrophoresis,
and using X-ray technology, the results were transferred into a film that was interpreted by a technician visually or
with the assistance of computer imaging to compare DNA band patterns from known and unknown samples. Id. at
550.

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35,000 that an unrelated individual, randomly selected from the Caucasian population, would have

a DNA profile matching that of Bonds and the sample. Id. at 551. Bonds was convicted. Id. at

552.

          The Sixth Circuit characterized Bonds’ argument on appeal as a challenge to the

“methodology of performing comparative testing [using VNTR analysis] and calculating the

statistical probabilities of a ‘match.’” Id. at 558. The Court viewed Bonds’ challenge as one direct

toward the precision of the probability estimate made by the FBI. Id. at 558. The Court focused

on the Daubert requirement that the court make “a preliminary assessment of the proffered

testimony . . . to determine whether the principles, methodology, and reasoning underlying the

testimony are scientifically valid.” Id. at 558.

          With respect to the first Daubert requirement – that is, whether the theory or technique can

be and has been tested – the Court noted internal proficiency tests and validation tests performed

by the FBI, and ultimately concluded this factor was “not really in dispute” by the defense. Id. at

558-59. The Court observed that, given the defense’s presentation “of evidence about deficiencies

in both the results and the testing of the results . . . [t]he dispute between the Government and the

defendants is over how the results have been tested, not over whether they have been tested.” Id.

at 559.

          Next, the Court determined that “peer review” factor was also met. Id. at 559-60, 563-64.

Qualifying that “publication is but one element of peer review,” id. at 564, the Court determined

that although the FBI’s procedures were not published in peer-reviewed journals, the procedures

“certainly have received at least some exposure within the scientific peerage to which they

belong.” Id. at 559-60, 563-64 (internal citations omitted). The Sixth Circuit conceded that it

found “troubling” the deficiencies in calculating the rate of error in the FBI’s methodology, noting



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both the “serious deficiencies” in the internal proficiency tests and the failure to conduct external

blind proficiency tests. Id. at 560. Nonetheless, the Court concluded that error rate “is only one

in a list of nonexclusive factors that the Daubert Court observed would bear on the admissibility

question,” and furthermore, “because the magistrate judge’s findings underlying general

acceptance encompass the existence and maintenance of standards controlling the technique’s

operations, it is implicit that the rate of error is acceptable to the scientific community as well.”

Id. at 560 (internal citations omitted).

        The Court acknowledged that the defendant had presented expert testimony that “the FBI’s

methods were flawed because they did not take into account ethnic substructure,” but dismissed

this testimony because “the defense witnesses could only speculate about the effect of ethnic

substructure because there is no positive evidence that ethnic substructure exists.” Id. at 564. The

Court held this argument went to the accuracy of the results, and agreed with the lower court that

“the DNA results were based on scientifically valid principles and derived from scientifically valid

procedures.” Id. at 564. Although it echoed the magistrate judge’s finding that although “an

absence of consensus is not immaterial,” the Court rejected the defense’s contention that a

consensus is required as a red herring, id. at 562, finding it “not dispositive that there are scientists

who vigorously argue that the probability estimates are not accurate or reliable because of the

possibility of ethnic substructure.” Id. at 564. Ultimately, the Court found that “the underlying

principles and methodology used by the FBI to declare matches and make statistical probabilities

are scientifically valid” in that it “resulted from sound and cogent reasoning” that was based on

more than speculation or subjective belief. Id. at 565.

        Notably, however, the Court of Appeals had refused to consider a major piece of scientific

research questioning several of the FBI’s DNA testing procedures. Id. at 552. In 1992, while



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Bonds’ conviction was pending appeal, the National Research Committee (“NRC”) of the National

Academy of Sciences (“NAS”) had issued a report that contended that the FBI’s method of

multiplying the frequency of the alleles at each site “distorts the probability estimates because the

rule [did] not take into account the possibility of ‘population substructure,’ or a view that racial

populations contain ethnic subpopulations that have distinct DNA allele frequencies.” Id. at 552.

The defense had requested the appeals court take judicial notice of this report, arguing that had the

method proposed by the NRC report to perform probability calculations to compensate for

population substructure, the probability of Bonds’ DNA pattern being found in the Caucasian

population would be 1 in 17. Id. at 552. However, prior to engaging in its substantive analysis

under Daubert, the Court granted the government’s motion to strike the report, rationalizing that

because it was not a part of the record below, it would constitute improper fact-finding by an

appellate court. Id. at 552-53. The report had been published a year after Bonds was convicted.13

Id. at 552-53.


         B. The LR generated by MSP’s application of STRMix does not meet the standards for
            admission of scientific evidence set forth by the FRE and applicable case law because
            the underlying methodology is not scientifically valid.

         Modern forensic DNA analysis was an issue tackled in a September 2016 report to the

President by his Council of Advisors on Science and Technology, or PCAST.14 PCAST was tasked

with determining whether additional steps should be taken, “beyond those already taken by the

Administration in the aftermath of a highly critical 2009 National Research Council report on the


13
   In 1996, the NRC issued a second report that set forth procedures for taking different subgroups into account in
computing “random-match probabilities for an incriminating DNA profile in a population or a subgroup of a
population.” (Attachment 24, The Second National Research Council Report on Forensic DNA Evidence (“NRC
II”).)
14
   President’s Council of Advisors on Science and Technology, Report to the President, “Forensic Science in
Criminal Courts: Ensuring Scientific Validity of Feature-Comparison Methods” (“PCAST Report”), located at
https://obamawhitehouse.archives.gov/sites/default/files/microsites/ostp/PCAST/pcast_forensic_science_report_fina
l.pdf (last accessed Dec. 15, 2017).

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state of the forensic sciences, that could help ensure the validity of forensic evidence used in the

Nation’s legal system.”15        The report offers recommendations to the National Institutes of

Standards and Technology (“NIST”), the White House, the FBI, the Attorney General, and the

judiciary on “actions that could be taken to strengthen forensic science and promote its rigorous

use in the courtroom.”16

         The 2016 PCAST report acknowledged the well-settled proposition that “DNA analysis of

a sample from a single individual is an objective method,” observing that the laboratory protocols

in single-source analysis are precisely defined and that the interpretation “involves little or no

human judgment.” (Attachment 17, PCAST Report, pp 7, 70, 71 (emphasis added).)17 However,

the Council observed, “[a]s DNA testing kits have become more sensitive, there has been growing

interest in ‘touch DNA’ – for example, tiny quantities of DNA left by multiple individuals on the

steering wheel of a car.” (Attachment 17, PCAST Report, p 75 (emphasis added).) The report

explained that “the fundamental difference” between analysis of complex mixtures, versus single

source and simple mixtures (the latter of which is defined as two contributors), lies in the

interpretation of the resulting DNA profile. (Attachment 17, PCAST Report, pp 7, 75 (emphasis

added).)

         The report states:

                 Interpreting a mixed profile is different for multiple reasons: each
                 individual may contribute two, one or zero alleles at each locus; the
                 alleles may overlap with one another; the peak heights may differ
                 considerably, owing to differences in the amount and state of
                 preservation of the DNA from each source; and the “stutter peaks”
                 that surround alleles (common artifacts of the DNA amplification

15
   The White House Blog, “PCAST Releases Report on Forensic Science in Criminal Courts,” located at
https://obamawhitehouse.archives.gov/blog/2016/09/20/pcast-releases-report-forensic-science-criminal-courts (last
accessed Dec. 15, 2017).
16
   PCAST Report, located at https://obamawhitehouse.archives.gov/blog/2016/09/20/pcast-releases-report-forensic-
science-criminal-courts (last accessed Dec. 15, 2017).
17
   Single-source samples utilize estimates of random match probability based on FBI DNA profiles from
approximately 200 unrelated individuals from each of the six population groups. (PCAST, p 72.)

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                 process) can obscure alleles that are present or suggest alleles that
                 are not present. It is often impossible to tell with certainty which
                 alleles are present in the mixture or how many separate
                 individuals contributed to the mixture, let alone accurately to infer
                 the DNA profile of each individual.

                                                      * * *

                 Because many different DNA profiles may fit within some mixture
                 profiles, the probability that a suspect “cannot be excluded” as a
                 possible contributor to complex mixture may be much higher (in
                 some cases, millions of times higher) than the probabilities
                 encountered for matches to single-source DNA profiles. As a result,
                 proper calculation of the statistical weight is critical for presenting
                 accurate information in court.

                 Attachment 17, PCAST Report, pp 75-76. (emphasis added).

         The PCAST report then addressed probabilistic genotypic software programs like

STRMix. (Attachment 17, PCAST Report, pp 78-79.) The Council cautioned that while these

programs are a “major improvement over purely subjective interpretation,” they still require

careful scrutiny regarding the validity of these scientific methods because “the programs employ

different mathematical algorithms and can yield different results for the same mixed profile.”18

(Attachment 17, PCAST Report, pp 8, 79.) The Council noted that the two most widely-used

methods, STRMix and TrueAllele, are commercial competitors and appear reliable only within a

certain range – that is, according to the companies’ own studies, they appear to be reliable for

three-person mixtures in which the DNA amount exceeds the minimum level required for the

method and in which the minor contributor constitutes at least 20 percent of the intact DNA in

the mixture. (Attachment 17, PCAST Report, p 80.) The Council urged “appropriate evaluation”




18
  In a study by the NIST, 108 labs across the country to determine whether a separate DNA sample was part of the
mix. Seventy-three of the labs got it wrong, saying the suspect’s DNA was part of the mix when, in fact, it was not.
When dealing with a mix of DNA from various potential subjects, “too much is left to the analysts’ discretion.” As
the NIST geneticist who set up the scenario observed, “it’s the Wild West out there.” (Douglas Starr, “Forensics gone
wrong: When DNA snares the innocent,” Science Magazine, Mar. 7, 2016, p 5.)

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of the proposed methods by multiple groups that are “not associated with the software

developers.” (Attachment 17, PCAST Report, p 79 (emphasis in original).)

           After the PCAST report was issued, on October 12, 2017, the National Institute of

Standards and Technology (“NIST”), a non-regulatory agency of the United States Department of

Commerce, released a study concluding that using the likelihood ratio (LR) in courtrooms is not

consistently supported by scientific reasoning. (Attachment 15, NIST Article; Attachment 18,

Lund, et. al, “Likelihood Ratio as Weight of Forensic Evidence: A Closer Look,” Journal of

Research of National Institute of Standards and Technology, Vol. 122, Art. No. 27 (2017) (“NIST

Study”)).19 The authors of the study, NIST statisticians Steve Lund and Hari Iyer, warn that the

justification for using LR in courtrooms is flawed because it “risks allowing personal preference

to creep into expert testimony and potentially distorts evidence for a jury.” (Attachment 15, NIST

Article, p 2.)

           Lund and Iyer explain that proponents of the LR approach appear to justify its use with

Bayesian decision theory, “a reasoning approach that has long been used by the scientific

community to create logic-based statements of probability.” (Attachment 18, NIST Study, p 2;

Attachment 15, NIST Article, p 2.) Bayesian reasoning is “a structured way of evaluating and re-

evaluating a situation as new evidence comes up.”                       (Attachment 15, NIST Article, p 2.)

Essentially, under Bayes’ rule, “individuals multiply their previous (or prior) odds by their

respective likelihood ratios to obtain their updated (or posterior) odds, reflecting their revised

degrees of belief regarding the claim in question.” (Attachment 18, NIST Study, p 1.) Applying

this approach allows an expert to come up with a logic-based numerical LR that makes sense to

the expert as an individual. (Attachment 15, NIST Article, pp 2-3.)



19
     Located at https://doi.org/10.6028/jres.122.027 (last accessed Dec. 12, 2017).

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       However, Lund and Iyer argue, Bayesian reasoning “breaks down in situations where

information must be conveyed from one person to another such as in courtroom testimony.”

(Attachment 15, NIST Article, p 2.) The problem, they explain, is when jurors are told to

incorporate the expert’s LR into their own decision-making, because an expert’s judgment often

involves complicated statistical techniques that can and do generate different LRs, depending on

the expert. (Attachment 15, NIST Article, p 3.) Lund and Iyer observe that “[c]omputing an LR

for anything but the simplest of problems will involve approximations[,]” (Attachment 18, NIST

Study, p 7), explaining that:

               . . . reporting a single LR value after an examination of available
               forensic evidence fails to correctly communicate to the [decision
               maker] the information actually contained in the data. Personal
               choices strongly permeate every model.

               Attachment 18, NIST Study, p 14. (emphasis added)

       The authors warn that “Bayesian decision theory neither mandates nor proves appropriate

the acceptance of a subjective interpretation of another, regardless of training, expertise, or

common practice.” (Attachment 18, NIST Study, p 22.) Furthermore, although validation can

demonstrate that a particular interpretation may be reasonable, “this should not be misunderstood

to mean the model is accurate or authoritatively appropriate.” (Attachment 18, NIST Study, p 22.)

While a decision maker “only needs to be personally satisfied regarding the suitability of using

any given LR in Bayes’ formula, guiding the probabilistic interpretation of others [such as jurors]

requires greater care.” (Attachment 18, NIST Study, p 7.) The authors argue that an extensive

uncertainty analysis is critical for assessing when and how LRs should be used and recommend

that a probability-based model like LR is only warranted when evaluating high-quality samples

of DNA from a single source. (Attachment 15, NIST Article, p 2.) Lund and Iyer maintain that




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for a technique to broadly apply, it must be based on measurements that can be replicated.

(Attachment 15, NIST Article, p 2.)

         Here, the methodology underlying the LR is not scientifically valid. The methodology

fails, at a minimum, the second, third, and fourth prongs of Daubert.

         First, with respect to an assessment of whether the theory or technique has been subjected

to peer review and publication, the NIST report and the PCAST report both reveal that when

subjected to scrutiny, the scientific community detected “substantive flaws in the methodology”

of determining the LR. Daubert, supra, 509 U.S. at 593-94. In particular, the LR method

impermissibly risks allowing personal preference to creep into expert testimony, “potentially

distort[ing] evidence for a jury.” (Attachment 15, NIST Article, p 2.) As Lund and Iyer noted,

“[p]ersonal choices strongly permeate every model” because using LR necessarily implicates an

analyst’s judgment about whether to include certain data in the analysis, including the individual

laboratory’s analytical thresholds, drop in/out, stutter, saturation, and an analyst’s assessment of

the number of contributors. (Attachment 18, NIST Study, p 14.) Thus, as the NIST experts point

out, an expert’s judgment, even when employing Bayesian reasoning correctly, can generate

substantially different answers. (Attachment 15, NIST Article, p 3.) Indeed, MSP’s own internal

procedures appear to recognize that inconsistent STRMix results are anticipated, by expressly

counseling against repeating an STRMix analysis except in very limited situations.20 (Attachment

12, MSP PMBIO 2.11.8, p 118.)

         The factors incorporated into the STRMix program involve subjective interpretation, but

as the NIST study points out, the decision-maker in this case (the individual juror) does not know

the information actually contained in the data. (Attachment 18, NIST Study, p 14.) In fact, the


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  If additional analyses are completed for a particular reason, the results must be either included in the case file and
report or a notation must be made on the report that additional analyses were performed. (PMBIO 2.11.8, p 118.)

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materials disclosed to the defense tend to indicate that potentially critical evidence was omitted

here, in the discretion of the individual analyst. In particular, with respect to the analysis of the

DNA found on the gun, the MSP analyst disregarded the data from one of the genetic loci

(D8S1179), even though she conceded that the data indicated four, not three, contributors of DNA.

(Attachment 13, MSP EPG, June 2, 2016). Instead, the analyst determined “oversaturation” was

exhibited, and because this was a possible “artifact,” she dismissed the locus from the analysis.

(Attachment 13, MSP EPG, June 2, 2016.) Importantly, according to MSP’s policy manual, when

a peak height exhibits saturation, the sample should be re-run. (Attachment 12, MSP PMBIO

2.10.4.4.) However, there is no indication that was done here; rather, the information was simply

discarded. Furthermore, another locus (D12S391), also tended to indicate the presence of four

donors, as it appeared to show the presence of more than six alleles. (Attachment 13, MSP EPG,

June 2, 2016.) However, the analyst nonetheless entered “three” as the number of contributors

into the STRMix program, despite the fact that the possibility of four contributors had not been

eliminated. (Attachment 13, MSP EPG, June 2, 2016.) This information was then entered into

the STRMix program as a parameter relied upon by the STRMix program in generating the LR.

(Attachment 9, Michigan State Police, STRMix Reports.)

       More generally, the actual DNA material in this case was not suitable for subjection to

STRMix analysis. The PCAST report observed that according to their own studies, STRMix and

TrueAllele appear to be reliable for three-person mixtures in which the minor contributor

constitutes at least 20 percent of the intact DNA in the mixture and in which the DNA amount

exceeds the minimum level required for the method. (Attachment 17, PCAST, p 76.) Here,

however, the major contributor contributed 68%, the first minor contributor contributed 25%, and

the next minor contributor contributed only 7% of the sample. (Attachment 9, MSP STRMix



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Report.) The defense’s expert concluded that the DNA in the sample was primarily female. Mr.

Gissantaner, a male, was a minor donor to the sample, and was identified by the defense expert as

possibly corresponding to the 7% minor donor. Thus, the contribution of the minor donor did not

meet the 20% threshold specifically recommended by PCAST to the legal and scientific

community to strengthen forensic science and “promote its rigorous use in the courtroom.”

(Attachment 17, PCAST Report, p 76.)

         With respect to the third prong of Daubert, meaningful standards controlling the operation

of the technique do not exist, chiefly because STRMix is a proprietary program. Daubert, supra,

509 U.S. at 593-94. The standards for operation of the technique are not available to the MSP

operators, because while MSP analysts are provided instructions on how to operate the commercial

programs available to them, they are not expert statisticians qualified to offer testimony regarding

the proprietary software’s internal calculus.21 The defendant’s inability to cross-examine a

qualified STRMix software expert about the impact and basis for the program’s formulas,

directions, and outcomes, would violate his Sixth Amendment right to confrontation.                          See

Crawford v. Washington, 541 U.S. 36, 66-67 (2004). Furthermore, an MSP analyst’s testimony

that she personally knows of the program’s uses in the field and that she has read papers where the

programs were used is inadequate to establish that the application is reliable and cannot qualify

her as an expert on STRMix software. While “[t]rained experts commonly extrapolate from

existing data,” in a case involving complex statistical algorithms protected by patent, “too great an

analytical gap” exists between the data and the opinion proffered. Joiner, supra, 522 U.S. at 147.




21
  See Kirchner, L., “Where traditional DNA testing fails, algorithms take over,” published on ProPublica, Nov. 4,
2016, located at https://www.propublica.org/article/where-traditional-dna-testing-fails-algorithms-take-over (last
accessed Dec. 12, 2017.)

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       Finally, as to the fourth prong of Daubert, the LR methodology is not generally accepted

in the scientific community. The Bonds case involved a statistical calculation as well, but unlike

in Bonds, here the existence and maintenance of standards controlling the technique’s operations

are not generally accepted such that it would be “implicit that the rate of error is acceptable to the

scientific community as well.” Bonds, supra, 12 F.3d at 565. In fact, the PCAST report and the

NIST study demonstrate that the scientific community does not accept the potential error rate

inherent in this methodology. Experts in the field are openly questioning whether “the DNA results

were based on scientifically valid principles and derived from scientifically valid procedures” id.

at 564, and the “absence of consensus is not immaterial.” Id. at 562.

       The decision in Bonds differs from this case on account of several critical factors. Bonds,

supra, 12 F.3d 540. First, that case involved manually and visually interpreting DNA markers of

a single-source sample of blood using RFLP, a process which MSP itself notes typically required

“a considerable amount of DNA (approximately 500 ng) from the crime scene” to obtain a result.

Bonds, supra, 12 F.3d at 550. (Attachment 14, MSP STRMix Validation Summary, p 3.)

However, at issue in the instant case is a multiple-source sample from potentially three

contributors of touch DNA, not blood. (Attachment 8, MSP Report 2.) Furthermore, a much

smaller amount of DNA was examined here – only about 7.96 ng of DNA was in the sample.

(Attachment 5, MSP Worksheet.) Thus, unlike in Bonds, the analysis here required amplification

(copying) of the sample, a process that can result in artifacts that can affect the quality of the

STRMix analysis. (Attachment 14, MSP STRMix Validation Summary, p 32.) Also, capillary

electrophoresis, the process used to analyze the DNA sample taken from the gun in this case, is an

automated process using a genetic analyzer that does not involve first-hand visual interpretation

like the RFLP. (Attachment 5, MSP Worksheet.) See Bonds, supra, 12 F.3d at 550.



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         Perhaps most important, the statistical tool used in Bonds is wholly distinguishable from

the statistical operation utilized in this case. In Bonds, the government determined the random-

match probability, or the frequency of the single profile present in the sample in that case with

respect to the population at large, using the product rule. Bonds, supra, 12 F.3d at 550. But

samples containing multiple contributors cannot rely on the application of this simple principle

because, as the PCAST report indicates, it often is impossible to determine “how many separate

individuals contributed to the mixture, let alone accurately to infer the DNA profile of each

individual.” (Attachment 17, PCAST, pp 75-76.) Thus, programs like STRMix apply complex

statistical algorithms to calculate the likelihood that a particular person, as opposed to a random

person, is present in the mixture. But algorithmic analysis programs like STRMix are a new

frontier of DNA science, and as the PCAST report concluded, the validity of this software has

been established only in certain circumstances not present here, and additional, independent,

research is critically needed. (Attachment 17, PCAST, p 76.) A known technique that has drawn

only minimal support within community may properly be viewed with skepticism. Daubert,

supra, 509 U.S. at 594. The underlying principles and methodology used here to make the

statistical probability estimate are not scientifically valid in that it they do not “result from sound

and cogent reasoning,” but rather subjective belief. Bonds, supra, 12 F.3d at 565.

         Because of the subjective principles upon which it relies, submission of the LR here would

only marginally help the trier of fact to understand the evidence, while creating an enormous

possibility of unfair prejudice and confusion of the issues. FRE 403. According to the American

Psychology Association, research has demonstrated that “people generally aren’t very good at

interpreting probabilities, and they are easily swayed by the way statistics are presented.”22


22
  Article, “The problem with DNA,” American Psychological Association, June 2007 Monitor on Psychology, Vol.
38, No. 6, p. 52 (June 2007), located at http://www.apa.org/monitor/jun07/problem.aspx (last accessed Dec. 15, 2017)

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Furthermore, “[j]urors often get too much information, and not enough instruction on how to

analyze it.”23 For instance, as a 2007 article by the APA explains:

                 Since everyone’s DNA—except that of identical twins—is unique, the
                 chance of a coincidental match is often around one in 10 billion, which
                 sounds really impressive, given that the population of the earth is about 6.5
                 billion. But one in 10 billion is a statistical probability of coincidence-not
                 proof that only one person on the earth could have this profile. What’s
                 more, that number does not factor in other potential problems, such as lab
                 errors[.]

                 In the courtroom, jurors tend to think that match statistics such as one in a
                 billion cover all possibilities for error, but they only refer to one area, such
                 as the chance of a coincidental match, and there are other mitigating factors
                 such as the chances of a false match[.]24

        Here, the LR incorporates an astronomically high number – “49 Million times more likely”

– that is likely to make a powerful impact on a juror’s perception of the DNA evidence.

(Attachment 10, MSP Report 3.) Yet the underlying assumptions upon which this figure is based

implicate proprietary and extraordinarily complex theories of statistical calculus to which even

trained MSP analysts cannot expertly speak. FRE 703. Even “vigorous cross-examination and

careful instruction on the burden of proof” would be insufficient to attack this evidence, because

“clear and effective presentation to jury” is impossible. Daubert, supra, 509 U.S. at 596. The

danger that a jury will place too much stock in the LR of “49 Million times more likely” is great.

This evidence should not be disclosed to the jury because its probative value is substantially

outweighed by the prejudicial effect. FRE 403.




(Attachment 27).
23
   Article, “The problem with DNA,” American Psychological Association, June 2007 Monitor on Psychology, Vol.
38, No. 6, p. 52 (June 2007), located at http://www.apa.org/monitor/jun07/problem.aspx (last accessed Dec. 15, 2017).
24
   Article, “The problem with DNA,” American Psychological Association, June 2007 Monitor on Psychology, Vol.
38, No. 6, p. 52 (June 2007), located at http://www.apa.org/monitor/jun07/problem.aspx (last accessed Dec. 15, 2017).

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       C. The LR generated by MSP’s application of STRMix is unreliable and should not be
          admitted because large gaps in the chain of custody and the lack of adherence to
          stringent handling procedures call into question the integrity of the material subjected
          to analysis, and therefore the results of all subsequent tests.

       Under FRE 609, “[t]o satisfy the requirement of authenticating or identifying an item of

evidence, the proponent must produce evidence sufficient to support a finding that item is what

the proponent claims it is.”   FRE 609. Challenges to the chain of custody normally go to the

weight of the evidence, not its admissibility. United States v. Granderson, 651 Fed. Appx. 373

(6th Cir. 2016). However, if the possibilities of misidentification or alteration cannot be eliminated

“as a matter of reasonable probability,” then the evidence is inadmissible. See United States v.

McFadden, 458 F.2d 440, 441 (6th Cir. 1972) (period of time between a bank robbery and the

arrival of police was a “very brief interval” that sufficiently laid a foundation for admission of a

bank note), United States v. Williams, 640 Fed. Appx. 492 (6th Cir. 2016).

       The average human sheds approximately 400,000 skin cells daily. (Attachment 19,

Wickenheiser, et. al., “Trace DNA: A Review, Discussion of Theory, and Application of the

Transfer of Trace Quantities of DNA Through Skin Contact,” Vol 47, Issue 3, 441-450, p 445,

Journal of Forensic Sciences, ASTM International, 2002.) Studies have shown that transfer of

DNA from one individual to another and subsequently to an object is possible. (Attachment 20,

Lowe, et. al, “The propensity of individuals to deposit DNA and secondary transfer of low level

DNA from individuals to inert surfaces,” Forensic Science International 129 (2002) 25-34 (“FSI

129”), p 25.) “[W]hen people are under the same roof there are multiple opportunities for transfer,

from handling each other’s laundry to touching the same objects.” (Attachment 21, Article, “DNA

in the dock: how flawed techniques send innocent people to prison,” The Guardian, October 3,

2017.) But “trace DNA is often far from conclusive, with analysts having to turn to statisticians




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to unpick mixed profile.” (Attachment 21, Article, “DNA in the dock: how flawed techniques

send innocent people to prison,” The Guardian, October 3, 2017.)

         The amount of original deposit will vary significantly depending on substrate (object

material type), manner of contact, whether the person is a good shedder, and freshness of deposit.

(Attachment 16, FSI 129, p 25.) One study of secondary transfer concluded that in 20% of

findings, the degree of secondary transfer exceeded the level of primary transfer in the same

sample. (Attachment 22, Davies, et. al, “Assessing primary, secondary and tertiary DNA transfer

using the Promega ESI-17 Fast PCR chemistry,” Forensic Science International: Genetics

Supplement Series 5 (2015) e55-e57 (“FSI GSS 5”), p e56.) However, it is usually impossible to

determine when the DNA was transferred to the item. (Attachment 16, FSI 129, p 25.)

         Today, PCR can “detect DNA at levels hundreds or even thousands of times lower than

when DNA fingerprinting was developed in the 1980s.”                          (Attachment 23, Douglas Starr,

“Forensics gone wrong: When DNA snares the innocent,” Science Magazine, Mar. 7, 2016, p 3.)

Thus, “touch DNA” from fingerprints comprising only 25 to 30 cells will sometimes suffice.

(Attachment 23, Douglas Starr, “Forensics gone wrong: When DNA snares the innocent,” Science

Magazine, Mar. 7, 2016, p 3.) Therefore, careful and traceable handling of evidence is critical to

good science and reliable results. As the NRC stated in its second report, issued in 1996:

                  Even the strongest evidence will be worthless – or worse, could lead to a
                  false conviction – if the evidence sample did not originate in connection
                  with the crime. Given the great individuating potential of DNA evidence
                  and the relative ease with which it can be mishandled or manipulated by
                  the careless or the unscrupulous, the integrity of the chain of custody is of
                  paramount importance.

                  Attachment 24, NRC II, p 25 (emphasis added).25


25
  The NRC II report set forth several safeguards against mishandling of samples, including recommending submission
of complete evidence items, rather than clippings or scrapings, to the laboratory. See id. at p 81. In the instant case,
the complete evidence item – that is, the firearm – was not submitted to the MSP laboratory.

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         Significantly, as observed by the American Psychological Association (“APA”), “[j]uries

sometimes gloss over the possibility of lab mistakes and mixed evidence . . . which can all lead to

false positives and land innocent people in prison.”26 Moreover, the APA cautioned:

                 Errors are more common when the DNA is “mixed,” meaning from more
                 than one person or the evidence is degraded by time or improper storage[.]
                 . . . Then experts must try to separate out the different sources. The people
                 who are sorting all of this out often know who is supposed to “match,”
                 which can influence the process. 27

         Here, the materials provided to the defense strongly suggest that the evidence, collected

from a locked cabinet in a home that Mr. Gissantaner shared with several other individuals, was

potentially mishandled and therefore possibly contaminated.

         First, at least one, possibly two, officers can be heard, on the recording from Officer

Kidney’s body camera, admitting to having moved the firearm prior to the arrival of the forensic

technician, contrary to instruction he had received. (Kidney MVR 200856 at 58:23.) Specifically,

the unidentified officer then continues, “[i]t’s a problem ‘cause I touched it and I moved it and I

know Olsen always tells me, ‘If you find something, just leave it there.’” (Kidney MVR 200856

at 58:23.) During the time he was thoroughly searching Mr. Gissantaner’s home on September

25, 2015, this same officer could have come into contact with dozens – even hundreds – of

locations where he could have inadvertently picked up some of Mr. Gissantaner’s DNA, which he

then in all likelihood transferred to the firearm that he touched. The reality that the only item of

physical evidence in this case was altered from its original state cannot be eliminated “as a matter

of reasonable probability.” McFadden, supra, 458 F.2d at 441.




26
   Article, “The problem with DNA,” American Psychological Association, June 2007 Monitor on Psychology, Vol.
38, No. 6, p. 52 (June 2007), located at http://www.apa.org/monitor/jun07/problem.aspx (last accessed Dec. 15, 2017).
27
   Article, “The problem with DNA,” American Psychological Association, June 2007 Monitor on Psychology, Vol.
38, No. 6, p. 52 (June 2007), located at http://www.apa.org/monitor/jun07/problem.aspx (last accessed Dec. 15, 2017).

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       Also, the discovery materials do not identify the methods by which the evidence was stored

or transported by the BCPD evidence technician, Officer Rathjen, once he arrived at the scene.

Again, the government cannot demonstrate that the firearm was ever in contact with any other

individual or object that had Mr. Gissantaner’s DNA. With touch DNA, this fact is vitally

important, because analysts can detect DNA that was “transferred from one person to another by

way of an object both of them have touched, or from one piece of evidence to another by crime

scene investigators, lab techs – or when two items jostled against each other in an evidence bag.”

(Attachment 23, Douglas Starr, “Forensics gone wrong: When DNA snares the innocent,” Science

Magazine, Mar. 7, 2016, p 3.)

       A break in the chain of custody also contributes to the probability that the firearm and DNA

from Mr. Gissantaner could have come into contact with each other without direct contact.

Specifically, the location of the firearm and the buccal swab collected from Mr. Gissantaner by

Officer Rathjen are unaccounted for from September 25, 2017, to September 30, 2017. This is not

a “very brief interval” of time, such as the period of time between a bank robbery and the arrival

of police. See McFadden, supra, 458 F.2d at 441. And the conditions of the storage – temperature,

vessel, etc. – of these items containing highly sensitive biological samples are not described in the

materials provided to the defense. Either the firearm or the swabs from the firearm, the crucial

pieces of evidence in this case, could have been, for example, out in the open, on a table in the

police department, or in the back of a police car, potentially commingling with items with which

Mr. Gissantaner’s DNA had come into contact.

       Additionally, BCPD’s failure to adhere to the protocol for the collection of DNA calls the

integrity of all this evidence into serious question. First, MSP’s DNA profiling system policies set

forth the requirements for an agency to collect DNA samples. Its policies state, in pertinent part:



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               (4) Each designated agency shall determine if a DNA sample is already on
               file for the offender through the criminal history record. DNA samples
               shall not be collected when the criminal history record indicates a DNA
               sample has previously been obtained from the offender.

               Attachment 25, Michigan State Police DNA Profiling System (“MSP
               DNA Profiling System”) R 28.5053(4) (emphasis added).

Here, the defendant submits that his DNA was already on file, due to his previous criminal history.

Because Mr. Gissantaner’s DNA sample already was on file, the collection of his DNA was

prohibited by MSP policy. (Attachment 25, MSP DNA Profiling System, R 28.5053(4).) In other

words, the risk of contamination of the gun swab by Mr. Gissantaner’s DNA during collection,

storage, and processing appears to have been unnecessarily created by BCPD’s violation of MSP

policies for agencies collecting DNA for analysis. Nor can the defense attempt to eliminate the

possibility of alteration of the sole piece of physical evidence in this case by referring to BCPD’s

own procedures for handling DNA evidence – because such procedures do not exist, at least not

in written form. Namely, when the defense requested from BCPD a copy of such manuals and

policies through subpoena, no such materials were produced.

       Analogously, MSP sets forth detailed policies on handling biological material, requiring,

for example, laboratory coats, gloves, and a face mask to be worn at all times during the handling

of biological evidence, preparing materials to be used in analysis, “or in the immediate vicinity of

these activities.” (Attachment 12, MSP PMBIO 2.1.2.2.) Gloves must be changed frequently, and

analysts engaging in PCR testing are specifically advised to “change gloves frequently to avoid

casual transfer of sample.”      (Attachment 12, MSP PMBIO, 2.1.5.2.6 (emphasis added).)

Additionally, all analyses must be performed on a clean work surface cleaned with 10% bleach

solution or on disposable bench paper. (Attachment 12, MSP PMBIO 2.1.2.4.) All work surfaces

must be cleaned with 10% bleach solution after each use. (Attachment 12, MSP PMBIO,



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2.1.5.2.7.) With respect to conditions of storage, MSP requires DNA extracts be stored at 4 degrees

Celsius overnight and -20 degrees Celsius for longer periods. (Attachment 12, MSP PMBIO,

2.1.7, 2.12.2.) When transfer of the product from one area to another is required, the material must

be in a containment vessel that has been wiped down with 10% bleach solution. (Attachment 12,

MSP PMBIO 2.1.7.) All controls must be documented. (Attachment 12, MSP PMBIO 2.1.3.2.)

       The detailed policies in place at MSP’s laboratories appear to heed the NRC’s urging with

respect to the need for standard procedures for the collection and preservation of evidence. Not

surprisingly, on March 9, 2017, MSP’s laboratories were determined to be in compliance with the

FBI’s Quality Assurance Standards. (Attachment 26, Letter from FBI to Kristin Schelling,

Michigan State Police, Forensic Science Division, March 9, 2017.) However, although BCPD

likewise handled this physical evidence, BCPD has no published standard handling procedures,

nor do the materials they have indicate that stringent care to protect the integrity of the evidence

was used in handling the evidence. In fact, the statements made by the officers, captured by the

body camera recording, and the abbreviated summary of the DNA collection tend to suggest the

opposite. (Kidney MVR 200856 at 58:23; Long MVR 200863 at 49:30.) Namely, the weapon

was handled by apparently two officers who, prior to touching the evidence, had been exhaustively

searching a home in which Mr. Gissantaner lived, and throughout which his DNA was present.

One of these officers even sheepishly admits to another officer that he had handled the evidence

contrary to his instruction. (Kidney MVR 200856 at 58:23.) Finally, the handling of the evidence

is also problematic in light of its disposition: although the MSP chain of custody indicates it

returned Mr. Gissantaner’s cheek swabs to the BCPD, these complete swabs were not present when

the defense visited the evidence on October 2, 2017. (Attachment 4, MSP COC.)




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       For the defendant to have a fair trial, the jury must have an opportunity to follow every

step of the DNA processing, from its collection, to its packaging, to its storage, to its transfer, and

to its analysis, to determine whether the results of the STRMix analysis are reliable. Here, the lack

of a complete and detailed chain of custody renders it impossible to ascertain whether the gun was

contaminated by the defendant’s DNA through inadvertent means. As set forth in section II of this

brief, the content and integrity of the DNA material subjected to the PCR process directly affect

the discretionary decisions made by the analysts and technicians with respect to what type and

amount of alleles are present, as well as the number of individual contributors of DNA. In turn,

STRMix relies upon these subjective determinations for calculating the LR, which then is offered

to the jury as “proof” of the defendant’s guilt. The condition of the physical evidence, and

therefore the results of the DNA analysis and the STRMix analysis, lack integrity because of the

failure of BCPD officers to adhere to stringent rules of care regarding handling of sensitive DNA

material.




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   IV.      CONCLUSION AND RELIEF REQUESTED

         For the reasons set forth in the arguments above, the defendant respectfully requests that

the Court enter an order excluding all results of DNA testing in this case because they are

unreliable and unfairly prejudicial.

         WHEREFORE, the defendant, Daniel Gissantaner, respectfully requests this Court grant

this motion to exclude evidence.

                                                      Respectfully submitted,

                                                      SHARON A. TUREK
                                                      Federal Public Defender

Dated: December 18, 2017                              /s/ Joanna C. Kloet
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